Case 2:18-cv-11693-WJM-JSA Document 98 Filed 06/22/22 Page 1 of 2 PageID: 1608
                                                                           THREE GATEWAY CENTER
                                                                           100 Mulberry Street, 15th Floor
                                                                           Newark, NJ 07102
                                                                           T: 973.757.1100
                                                                           F: 973.757.1090
                                                                           WALSH.LAW

 Marc D. Haefner
 Direct Dial: (973) 757-1013
 mhaefner@walsh.law

                                                June 22, 2022

 VIA ECF
 The Honorable Jessica S. Allen, U.S.M.J.
 United States District Court for the District of New Jersey
 Martin Luther King Jr. Bldg. & U.S. Courthouse
 50 Walnut Street
 Newark, New Jersey 07102

         Re:      Jorjani v. New Jersey Institute of Technology, et al.,
                  Civil Action No. 2:18-cv-11693

 Dear Judge Allen:

         This firm represents Defendants in connection with the above-referenced matter. We write
 in furtherance of the Court’s Opinion and Order (the “Order”) dated June 2, 2022 [D.E. # 95]
 wherein the parties are directed to confer and file the documents addressed in the Order within
 twenty (20) days.

         Accordingly, attached hereto are copies of the following documents: (1) D.E. # 62-1 in
 unredacted form in accordance with the Order; (2) D.E. # 62-2, as redacted pursuant to the Order;
 (3) D.E. # 62-3, as redacted pursuant to the Order; and (4) D.E. # 62-4, in unredacted form in
 accordance with the Order. Further, we noted in our preparation of the documents that the
 information contained at D.E. # 62-3, page 9, lines 8-10 reflected the same sensitive information
 contained in the prior lines of that response – even though these lines were inadvertently omitted
 from the original index requesting redactions. Upon recognizing this, we spoke with counsel for
 the Plaintiff who agreed that these lines should also be redacted. Thus, we have also applied
 redactions to those lines. Should Your Honor need any additional information or more formal
 applications with respect to these three lines (which, again, set out sensitive personnel disciplinary
 information regarding a non-party) we will happily provide it.

       We thank the Court for its continued attention to this matter. If Your Honor or Your
 Honor’s staff should have any questions or require anything further, we are always available.


                                                Respectfully submitted,

                                                s/ Marc D. Haefner
                                                Marc D. Haefner
Case 2:18-cv-11693-WJM-JSA Document 98 Filed 06/22/22 Page 2 of 2 PageID: 1609

 Hon. Jessica S. Allen, U.S.M.J.
 June 22, 2022
 Page 2


 CC:    Frederick C. Kelly, Esq. (via email)
        Joseph J. Haspel, Esq. (via ECF)
